Case 3:24-cr-00102-DPJ-LGI

CRIMINAL CASE COVER SHEET
U.S. District Court

PLACE OF OFFENSE:

RELATED CASE INFORMATION:
CIty: SUPERSEDING INDICTMENT

SAME DEFENDANT
COUNTY: _ Hinds MAGISTRATE JUDGE CASE NUMBER

Document 4-2 Filed 10/16/24 Page 1of1

SOUTHERN DISTRICT OF MISSISSIPPI

FILED

OCT 16 2024

ARTHUR JOHNSTON

DEPUTY

DOCKET # aie 1Q)-OfFU- LET

__ NEW DEFENDANT_

R 20/ R 40 FROM DISTRICT OF

DEFENDANT INFORMATION:

JUVENILE: YES_X__NOo
MATTER TO BE SEALED: _X__ YES NO
NAME/ALIAS: Sherik Marve Smith

U.S. ATTORNEY INFORMATION:

AUSA Charles W. Kirkham

BAR #102022

INTERPRETER:

LOCATION STATUS:

ALREADY IN FEDERAL CUSTODY AS OF

X_No

YES LIST LANGUAGE AND/OR DIALECT:

ARREST DATE

ALREADY IN STATE CUSTODY
ON PRETRIAL RELEASE

U.S.C. CITATIONS

TOTAL # OF COUNTS: 1 PETTY MISDEMEANOR 1 FELONY
(CLERK'S OFFICE USE ONLY) INDEX KEY/CODE DESCRIPTION OF OFFENSE CHARGED COUNT(S)
Set 1 18:371.F 18 U.S.C § 371 Conspiracy to defraud the U.S. 1
Set 2

Set 3

Set 4

Set 5

SIGNATURE OF AUSA: Charlee) fe J bec

Revised 9/22/2020
